3/6/2019                        Loevy &Document
                Case: 1:17-cv-08291     Loevy Mail - Jaimes, et al. v.Filed:
                                                       #: 111-9       Cook County, et al., 17-cv-8291
                                                                             03/06/19        Page 1- Amended Response#:670
                                                                                                      of 2 PageID


                                                                                        Danielle Hamilton <hamilton@loevy.com>



  Jaimes, et al. v. Cook County, et al., 17-cv-8291 - Amended Response
  Katie Roche <katie@loevy.com>                                                              Thu, Feb 21, 2019 at 4:36 PM
  To: Maria Avitia <mavitia@reiterburns.com>
  Cc: Arthur Loevy <arthur@loevy.com>, Jon Loevy <jon@loevy.com>, "mike@loevy.com" <mike@loevy.com>, Danielle
  Hamilton <hamilton@loevy.com>, Elizabeth Ekl <eekl@reiterburns.com>, "Terrence M. Burns" <tburns@reiterburns.com>,
  "Paul A. Michalik" <pmichalik@reiterburns.com>, "Daniel M. Noland" <dnoland@reiterburns.com>, "Katherine C. Morrison"
  <kmorrison@reiterburns.com>, Daniel Burns <DBurns@reiterburns.com>

    Thanks, Maria. When should we expect production of the policies themselves?

    Thanks,

    Katie
    [Quoted text hidden]
    --
    Katie Roche
    Loevy & Loevy
    311 N. Aberdeen Street, 3rd Floor
    Chicago, Illinois 60607
    (312) 243-5900




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3/6/2019        Case: 1:17-cv-08291 Document Loevy & Loevy
                                             #: 111-9      Mail - Jaimes
                                                         Filed:          v. CookPage
                                                                   03/06/19     County 2 of 2 PageID #:671



                                                                                      Danielle Hamilton <hamilton@loevy.com>



  Jaimes v. Cook County
  Danielle Hamilton <hamilton@loevy.com>                                                              Thu, Feb 28, 2019 at 5:02 PM
  To: Elizabeth Ekl <eekl@reiterburns.com>
  Cc: Katie Roche <katie@loevy.com>, Mike Kanovitz <mike@loevy.com>

    Beth, thanks for the update. We are still missing the following:

                Erika Aguirre Cook County Sheriff's Police Department tests and results (RFP No. 11) - requested November
                2018
                Cook County insurance policy effective Nov 2015 (RFP No. 9) - requested November 2018, you've given us the
                policy numbers but not the policies themselves
                Employee vs. employee OPR complaints (RFP No. 18) - ordered produced by the Court on October 29, 2018

    These documents were ordered to be produced or requested four months ago. And we proposed dates for the
    depositions 2 weeks ago. Given the tight deadlines in this case, we cannot waste any more time. Please confirm in writing
    by COB tomorrow that these documents will be produced no later than March 4 so that we may review them in time for
    the depositions beginning the week of March 11. Please also confirm in writing by COB tomorrow that dates and
    deponents for depositions during the week of March 11 will be set no later than March 4 to so that we can adequately
    prepare.

    If we do not hear from you, we will file a motion with the Court on the outstanding discovery, issue notices for the
    depositions, and proceed from there.

    Thanks for your attention to these matters,
    Danielle

    --
    Danielle Hamilton
    Loevy & Loevy
    311 N. Aberdeen Street, 3rd Floor
    Chicago, Illinois 60607
    (312) 243-5900

    On Thu, Feb 28, 2019 at 11:39 AM Elizabeth Ekl <eekl@reiterburns.com> wrote:
    [Quoted text hidden]




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